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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               PHILADELPHIA DIVISION

  In re:

  MATTHEW B. FORGIE,                                      Bankruptcy No. 22-12767-PMM
           Debtor.
                                                          Chapter 13
  WILMINGTON SAVINGS FUND SOCIETY, FSB,
  D/B/A CHRISTIANA TRUST, NOT INDIVIDUALLY
  BUT AS TRUSTEE FOR PRETIUM MORTGAGE
  ACQUISITION TRUST,
       Movant,
  v.
  MATTHEW B. FORGIE,
           Debtor/Respondent,
  MEGAN B. FORGIE,
           Co-Debtor/Respondent,
  KENNETH E. WEST, Esquire,
           Trustee/Respondent.



                           ORDER VACATING AUTOMATIC STAY

           AND NOW, this 12th day of April , 2023, upon consideration of Wilmington Savings

 Fund Society, FSB, d/b/a Christiana Trust, Not Individually But As Trustee For Pretium

 Mortgage Acquisition Trust’s Motion for Relief from Automatic Stay, pursuant to 11 U.S.C. §

 362(d) and 11 U.S.C. § 1301, any response thereto and that it is not necessary for an effective

 reorganization, it is hereby

           ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy Code

 are hereby unconditionally terminated with respect to Wilmington Savings Fund Society, FSB,

 d/b/a Christiana Trust, Not Individually But As Trustee For Pretium Mortgage Acquisition Trust;

 and it is further


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         ORDERED, that the co-debtor stay provisions of Section 1301 of the Bankruptcy Code

 are hereby unconditionally terminated with respect to Wilmington Savings Fund Society, FSB,

 d/b/a Christiana Trust, Not Individually But As Trustee For Pretium Mortgage Acquisition Trust;

 and it is further

         ORDERED, that Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, Not

 Individually But As Trustee For Pretium Mortgage Acquisition Trust, its successors and/or

 assignees be entitled to proceed with appropriate state court remedies against the property

 located at 1626 Valley Green Road, Paoli, PA 19301, including without limitation a sheriff’s sale

 of the property, and it is further

         ORDERED that Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, Not

 Individually But As Trustee For Pretium Mortgage Acquisition Trust’s request to waive the 14-

 day stay period pursuant to Fed.R.Bankr.P. 4001(a)(3) is granted.



                                                            BY THE COURT



                                                            ______________________________
      Date: April 12, 2023                                  Hon. Judge Patricia M. Mayer
                                                            U.S. Bankruptcy Court Judge




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